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 Exhibit A to Notice of Removal

           State Court Pleadings
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                                        IN   THE STATE COURT OF DEKALB COUNTY
                                                    STATE OF GEORGIA

             DEKEVIAN YOUNG,                                                  )

                                                                              )

                     Plaintiff,                                               )        CIVIL ACTION
                                                                              )                        20A83454
             V.                                                               )        FILE NO.
                                                                              )

                                                                              )        JURY TRIAL DEMANDED
             PILOT TRAVEL CENTERS, LLC,                                       )

             PFJSOUTHEAST, LLC,                                               )

             THOMAS PROTECTIVE SERVICES,                        INC.,         )

             and   JOHN DOES        1—15,                                     )

                                                                              )

                     Defendants.                                              )




                                                     COMPLAINT FOR DAMAGES
                     COMES NOW              the Plaintiff,     DEKEVIAN YOUNG,           and hereby ﬁles           this civil action,


             showing the Court the following:


                                                     PARTIES AND JURISDICTION

                                                                        1.



                     DEKEVIAN YOUNG (hereinafter “Young” or “Plaintiff”) is a resident of DeKalb County

             in the State     0f Georgia.


                                                                        2.



                     PILOT TRAVEL CENTERS, LLC                       (hereinafter “Pilot”)   is   a limited liability      company

             based in Tennessee and authorized            to   do business in Georgia. Pilot      may be     served with process


             through    its    domestic     agent,   CT      Corporation     System,   located    at   289    S.     Culver   Street,



             Lawrenceville, Georgia 30046-4805. Pilot is subject t0 the jurisdiction of this Court.


             Defendant    is   subject to the jurisdiction of this Court.




                                                                                                                                     STATE COURT 0F
                                                                                                                                 DEKALB COUNTY, GA.
                                                                                                                                    11I1 7/2020 5:23 PM
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                                                                                      3.



                      Defendant PFJ Southeast,                LLC     (hereinafter, “PFJ”) is a limited liability               company based

             in   Tennessee and authorized to d0 business in Georgia. PFJ                               may be   served through      its   registered


             agent,   CT Corporation             System, located       at   289   S.       Culver    Street, Lawrenceville,     Georgia 30046-


             4805. PFJ       is   subject t0 the jurisdiction of this Court.


                                                                                      4.



                      Defendant Thomas Protective Service, Incorporated                                     (hereinafter    “TPS”)    is    a Foreign


             Corporation based in Texas and authorized t0 d0 business in Georgia.                                    TPS may be            served With


             process through            its   registered agent, National Registered Agents, Inc., located at                       289       S.   Culver


             Street, Lawrenceville,             Georgia 30046-4805.           TPS          is   subject to the jurisdiction of this Court.



                                                                                      5.



                      JOHN DOES                 1—15 are the owners and/or employees of the owners, managers and/or


             employees of the managers, management companies and/or employees of the management

             companies of the            real property located at           2605 Bouldercrest Road, Atlanta, Georgia,                       in   DeKalb

             County. John Does 1—15 will be named and served With the                                     Summons and Complaint once               their


             identity   is   revealed.


                                                                                      6.



                      Defendants are joint tortfeasors pursuant to Article VI, Section                              II,   para. 4 of the Georgia


             Constitution,        and venue       is   proper as to   all   Defendants in DeKalb County, Georgia.


                                                                                      7.



                      Venue        is   proper pursuant t0 O.C.G.A.               §    14-2-510 because the incident giving                 rise t0 this


             civil action     occurred in DeKalb County.




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                                                            BACKGROUND
                                                                    8.



                      Paragraphs 1-7 are hereby incorporated and -re-alleged as though fully set forth herein.

                                                                    9.




                      Defendant Pilot       is   a Tennessee-based corporation With over 750 truck stops located


             throughout North America.



                                                                   10.




                      These truck stops serve as weigh stations for consumers           t0 purchase fuel, sundries,    and

             other items.



                                                                   11.




                      These truck stops also serve as      rest stop facilities for semi-truck drivers t0 re-fuel,   weigh

             their vehicles, take showers,        and purchase various items (food, beverages, maps) that aid    in their


             travels across the country.




                                                                   12.




                      At   all   times relevant hereto, Defendant Pilot   owned   and/or operated the truck stop located


             at   2605 Bouldercrest Road, Atlanta, Georgia,        in    DeKalb County   (hereinafter “the Bouldercrest


             location” 0r “Premises”).




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                                                                  13.




                     At all times   relevant hereto, Defendant   PFJ owned, operated and/or was responsible      for the


             management 0f the Bouldercrest      location.




                                                                  14.




                     The Bouldercrest    location has a   main building Which houses a convenience     store,   showers


             for truckers,   and a fast—food restaurant—all available   t0 the public.




                                                                  15.




                     The Bouldercrest     location has a rear door that leads t0 the parking area/fuel stop/scale


             station for the semi-trucks that stop at the location.




                                                                  16.




                     At   the time 0f the incident giving rise t0 this civil action, Defendants Pilot and/or       PFJ

             maintained a religious structure,     named “A       Pilot Chapel”,   located in the rear area 0f the


             Bouldercrest location, approximately 200 feet from the rear entrance.



                                                                  17.




                     The Bouldercrest    location has a long history 0f Violent incidents occurring   on the property,

             including robberies, assaults, and carj ackings.




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                                                                    18.




                      At the time of the    incident giving rise to this civil action, Defendant   TPS was   contracted t0


             provide security    at the   Bouldercrest location, including the rear and front parking lots located 0n


             the property.



                                                                    19.




                      On March    17,   2019,   Young was an   invitee 0f Pilot/PFJ at the Bouldercrest location.



                                                                    20.



                      At   the time 0f the incident giving rise t0 this civil action,    Young, ana    OTR     semi-truck


             driver for Melilla Valley Trucking, drove his truck into the parking lot 0f the Bouldercrest location


             at   approximately 4:00 a.m.



                                                                    21.



                      After parking his semi-truck in the rear paring lot 0f the Bouldercrest location,            Young

             proceeded t0 the main building t0 purchase items.



                                                                    22.



                      As he walked      near the chapel,   Young   noticed Nichelle Thomas, a Pilot employee, sitting


             on a bench    in front   0f the chapel.



                                                                    23.



                      As Young engaged her        in conversation, both   0f them heard the sounds 0f gunﬁre.




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                                                                     24.



                      Young     felt   an immediate, sharp, exploding pain in his right arm right after the


             commencement of gunﬁre.


                                                                     25.



                      Young and Thomas dropped to            the ground in response to the gunshots.



                                                                     26.



                      An armed man       approached Young and Thomas while they were laying 0n the ground and


             attempted to rob them.



                                                                     27.



                      The armed man threatened both Young and Thomas, ordering them                 t0 “give   me what you

             got.”   The armed man then      fired several   more   shots in their direction before ﬂeeing the area.



                                                                     28.



                      Once    the assailant ran,   Young   got up from the ground and    ﬂed   t0 his truck.




                                                                     29.



                      As he   ran,   Young   realized the pain in his right   arm was because he had been      shot and his


             arm was not     functioning.




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                                                                     30.



                    Young      attempted to       make   it   to his truck but stopped          When he saw          the assailant,


             accompanied by another man, cross several            feet in front   of him.



                                                                     31.



                    Young     reversed course and ran back towards the chapel, where he heard                    Thomas    yelling


             into her   work headset   that she   had been shot    as well.



                                                                     32.



                    As    this incident   was taking   place,   Miranda Simmons, a security guard employed by TPS,

             remained inside the convenience         store,   only exiting after the shooting was over and the assailant


             had ﬂed.


                                                                     33.



                    Young     realized that he    had sustained gunshots      t0 his left leg   and   t0 his neck.




                                                                     34.



                    DeKalb     Police Department responded t0 the scene t0 investigate the shooting.



                                                                     35.



                    An ambulance       also arrived    on scene and transported the         critically injured   Young    to   Grady

             Memorial Hospital (“Grady”), where he arrived            at   approximately 6:00      am.


                                                                     36.



                    Young remained hospitalized          for six days before being discharged           on March 23, 2019.


                                                                      7




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                           COUNT ONE: DUTY TO KEEP PREMISES SAFE (O.C.G.A. S 51-3-1)
                                                                          37.


                      Plaintiff re-alleges       and incorporates the allegations contained          in paragraphs   1   through 36


             as   though fully     set forth herein.


                                                                          38.


                      Defendants       Pilot,   PFJ,   TPS   and/or John Does 1-15, including their respective employees


             and agents, owed a duty 0f care           to Plaintiff to   keep the Premises safe from reasonably foreseeable,

             unlawful acts and dangerous conditions on their Premises.



                                                                          39.


                      At   all   times relevant hereto and prior t0 any injuries t0 Plaintiff, said Defendants knew, 0r


             through the exercise 0f reasonable care should have known, that there had been several incidents


             of Violent crimes in and about the Premises.


                                                                          40.


                      Prior to said time        when   Plaintiff   was   assaulted and shoT, said Defendants were         0n   actual


             notice that the Premises       was    in a high crime area.


                                                                          41.


                      Prior t0 said time        When    Plaintiff   was   assaulted and shot, said Defendants        knew of      the


             dangerous conditions 0n the Premises and the likelihood that acts of Violence resulting in injury t0


             invitees   and others lawfully 0n the property might occur.

                                                                          42.


                      Defendants failed and refused t0 correct the circumstances giving rise t0 such crimes by


             third parties, failed t0      keep    their Premises safe          and   failed to adequately   and properly protect

             Plaintiff, all in    breach 0f their duty 0f care      owed t0      Plaintiff.




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                                                                          43.



                      As   a direct and proximate result of said Defendants’ actions and/or inactions, Plaintiff has


             experienced physical and mental pain and suffering, Plaintiff has suffered post-traumatic stress


             and depression,       Plaintiff has   been unable to function properly      in his   normal capacities and   Plaintiff


             has been unable t0 enjoy his usual          lifestyle, for   which he   sues.



                  COUNT TWO: NEGLIGENCE - FAILURE TO PROVIDE ADEQUATE SECURITY
                                        (O.C.G.A. 8 51-3-1/Restatement 0f Torts, 2d, 8 324A)

                                                                          44,


                      Plaintiff re-alleges      and incorporates the allegations contained          in paragraphs   1   through 43


             as   though fully    set forth herein.


                                                                          45.


                      At   all   relevant times, Defendants Pilot, PFJ, TPS, and/or John            Does 1-15 undertook t0

             provide security       at the   Premises.


                                                                          46.


                      Said Defendants          owed   a duty 0f care to their guests and invitees, including Plaintiff, to


             provide adequate security on and about their Premises.


                                                                          47.


                      Said Defendants failed to provide adequate security on and about the Premises in breach


             of their duty of care.


                                                                          48.



                      As   a direct and proximate result 0f said Defendants’ actions and/or inactions, Plaintiff has


             experienced physical and mental pain and suffering, Plaintiff has suffered post-trauma stress and


             depression, Plaintiff has been unable to function properly in his normal capacities and Plaintiff has




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             been unable    t0   enjoy his usual     lifestyle, for   Which he   sues.



                     COUNT THREE: DEFENDANTS MAINTAINED A PRIVATE NUISANCE
                                                           (O.C.G.A. S 41-1-1      et seq.)


                                                                         49.


                     Plaintiff re-alleges      and incorporates the allegations contained          in paragraphs        1   through 48


             as if fully set forth herein.


                                                                         50.


                     Defendants      Pilot,   PFJ,   TPS   and/or John Does 1- 1 5 are liable for nuisance by reason oftheir


             failure to   remedy    the dangerous condition 0f crime incidents that persisted over a period of time


             as a continuous      and repetitious condition and of Which said Defendants had express notice and

             knowledge, and Where such nuisance caused the injury and suffering of Plaintiff.

                                                                         51.



                     As   a direct and proximate result of said Defendants’ actions and/or inactions, Plaintiff has


             experienced physical and mental pain and suffering, Plaintiff has suffered post—trauma stress and


             depression, Plaintiff has been unable to function properly in his normal capacities and Plaintiff has


             been unable    to   enjoy his usual     lifestyle, for   which he   sues.



                     COUNT FOUR: NEGLIGENT INSPECTION, REPAIR & MAINTENANCE
                                                                         52.


                     Plaintiff re-alleges      and incorporates Paragraphs         1   through 5 1 as   if fully set forth herein.



                                                                         53.


                     At   all   relevant times, Defendants Pilot, PFJ, TPS, and John            Does 1-15 owed a duty of care

             to Plaintiff t0 properly inspect, construct         and maintain the Premises and          to   keep   their   Premises in


             proper repair.


                                                                         10




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                                                                        54.


                       Said Defendants breached their duties of care                  owed   to Plaintiff in that they failed to


             properly construct, maintain and repair the Premises including the lighting in the parking                    lot,   for


             which    Plaintiff sues.



                                                                        55.


                      As   a direct and proximate result of said Defendants’ actions and/or inactions, Plaintiff has


             experienced physical and mental pain and suffering, Plaintiff has suffered post-trauma stress and


             depression, Plaintiffhas been unable to function properly in his normal capacities and Plaintiff has


             been unable     to   enjoy his usual   lifestyle, for   which he   sues.




                                              COUNT FIVE: VICARIOUS LIABILITY

                                                                        56.



                      Plaintiff re-alleges    and incorporates paragraphs         1   through 55 as   if fully set forth herein.



                                                                        57.



                      At   all   times relevant t0 this action, the individuals responsible for inspection, repair, and


             maintenance of the property, as well as those responsible for providing security                   at the   Premises


             Where    Plaintiff    was   injured were   employed by Defendants and were acting Within the scope 0f

             their   employment.



                                                                        58.



                      Defendants are responsible for the actions 0f these individuals pursuant t0 the doctrine 0f


             respondeat superior, agency or apparent agency.




                                                                        11




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                          COUNT SIX: NEGLIGENT HIRING, TRAINING AND SUPERVISION

                                                                         59.



                        Plaintiff re-alleges    and incorporates paragraphs        1   through 58 as   if fully set forth herein.



                                                                         60.



                        Defendants     Pilot,   PF], TPS, and John Does 1-15 were negligent in hiring, training and


             supervising the individuals responsible for inspection, repair, maintenance 0f the property, as well


             as those responsible for providing security at the Premises                 where   Plaintiff was injured.



                                                                         61.



                        As   a direct and proximate result of said Defendants’ actions and/or inactions, Plaintiff has


             experienced physical and mental pain and suffering, Plaintiff has suffered post-trauma stress and


             depression, Plaintiffhas been unable to function properly in his normal capacities and Plaintiff has


             been unable      t0   enjoy his usual   lifestyle, for   Which he   sues.




                                                       COUNT SEVEN: DAMAGES
                                                                         62.


                        Plaintiff re-alleges    and incorporates the allegations contained           in paragraphs   1    through 61


             as if fully set forth herein.



                                                                         63.



                        As   a result 0f Defendants’ conduct, Plaintiff has incurred past medical expenses believed


             to total   $262,267.54 and Will continue to incur medical expenses in the future.



                                                                         64.



                        As   a result 0f Defendants’ conduct, Plaintiff has incurred past lost wages and                  may   incur


                                                                         12




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             future lost wages.



                                                                          65.



                       As   a result 0f Defendants’ conduct, Plaintiff has incurred mental and physical pain and


             suffering and will continue t0 experience pain and suffering in the future.



                             COUNT EIGHT: PUNITIVE DAMAGES (O.C.G.A. 8 51-12-5.1(b))
                                                                          66.


                       Plaintiff re-alleges        and incorporates paragraphs         1   through 65 as though fully set forth


             herein.


                                                                          67.


                       Plaintiff shows that the       conduct of Defendants was such as t0 evince an entire want of care


             and indifference      t0 the   consequences 0f such conduct.


                                                                          68.


                       Plaintiff   shows    that   such conduct amounted t0 wanton acts by Defendants                   Pilot,   PFJ,   TPS

             and/or John Does 1-15 without regard t0 the rights 0f their customers and invitees, including


             Plaintiff.



                       As   a direct and proximate result of said Defendants’ actions and/or inactions, Plaintiff has


             experienced physical and mental pain and suffering, Plaintiff has suffered post—trauma stress and


             depression, Plaintiffhas been unable to function properly in his normal capacities and Plaintiff has


             been unable     t0   enjoy his usual     lifestyle, for   Which he    sues.




                       WHEREFORE,           Plaintiff prays that       he have a   trial   on   all   issues   and judgment against the

             Defendants as follows:




                                                                          13




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                      (a)   That Plaintiff recover the        full   value 0f past and future medical expenses and past and


             future lost    wages   in   an amount t0 be proven         at trial;



                      (b)   That Plaintiff recover for mental and physical pain and suffering and emotional


             distress in    an amount t0 be determined by the enlightened conscience of the jury;


                      (c)   That Plaintiff be awarded a judgment against Defendants for punitive damages, as


             established    by   the evidence; and


                      (d)   That Plaintiff be granted such other and further relief as              is   just   and proper;


                      (e)   That   all   issues   by   tried before a jury   0f 12 persons.


                      This 17th day ofNovember, 2020.



                                                                                    /s/   Shofaetivah D. Watson
                                                                                    Shofaetiyah D. Watson
                                                                                    Georgia Bar N0. 142027
                                                                                    Counsel for Plaintiff
             THE WATSON LAW FIRM, LLC
             P.O.   Box 6002
             Atlanta,   GA 31 107
             T: 678.884.9564
             F:   404.551.5245
             E:sdw@showatson.com

                                                                                    STATE COURT OF
                                                                                    DEKALB COUNTY, GA.
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         D              Check                      if       the action           is   related to another ac:lon(s)                       pending or previousiy pending                                        in thls court involving            some or   a'II

                        of the                     same         parties. subject matter. or factual' issues.                                       If _so.       provide a case                        numb er for each.
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                                                            Can Number                                                                     Case Number                                .,


                        1   hereby                          certify that          the documents               In this ﬁling.             includingattachments and exhibits, satisfy {he requirements for
                        rgdaction of personal or conﬁdential information
                                                                         In                                                                 OLGA. § 9-11-11.
          U             ls an'interpreter.                                needed          in this   case?         If   so. provide the language(s) required.

                                                                                                                                                                                                              Languagcls) Required

                        Do you                          or your           cliejnt      need any     disability             accommodations?                                  1f        so. please describe      the accommodation request.




                                                                                                                                                                                                                                                        STATE COURT OF
                                                                                                                                                                                                                                                   DEKALBLL13
                                                                                                                                                                                                                                                    v_mlon
                                                                                                                                                                                                                                                            COUNTY, GA.
                                                               STATE COURT 0F                                                                                                                                                                          11/17/2020 3:09 PM
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                                            IN    THE STATE COURT OF DEKALB COUNTY
                                                         STATE OF GEORGIA
            DEKEVIAN YOUNG,                                                          )

                                            Plaintiff,
                                                                                     )

            V.
                                                                                     )                   CIVIL      ACTION
                                                                                     )                   FILE N0.
            PILOT TRAVEL CENTERS, LLC,                        et aL,                 )

                                            Defendants.                              )



                                             PLAINTIFF’S          MOTION FOR APPOINTMENT
                                                        OF SPECIAL PROCESS SERVER

                      COMES NOW the above-referenced Plaintiff,                           pursuant to O.C.G.A. § 9-11-4(c), to state

            that expedited service of process to             Defendant       is   necessary and requests the appointment of the

            special process server,         Madeline Anne Lane,             to serve process in this case.          Madeline Anne Lane

            is   over the age of eighteen years of age,              is   a citizen of the United States of America, and has


            no    interest in this case, or relationship to               any of the      parties, and   is   willing    and able   to serve

            process in       this matter,   and   is   currently a   Georgia Certified Process Server               in   good standing and

            assigned identification number               CPSZ40 by the Georgia             Sheriffs Association. All          documents

            served will be listed on the Affidavit 0f Service, and                   if   the party being served is not found, then a


            complete Affidavit of Due Diligence will be submitted.


                      WHEREFORE,            Plaintiff     moves   this    Court for an Order appointing Madeline                  Anne Lane

            as process server for any and all filed documents to the parties in this
                                                                                     case.




                                                                                    PlaiMf      sAtW                      V
                                                                                                                                  DATE
                                                                                    Printed Name, Address, Phone, and Email:
            Cc:       Madeline Anne Lane,              GA CP5240                    ShOfaeﬁyah Watson
                      PapersServed                                                  P. O.   BOX 6002     Atlanta,   Ga   31 107
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                      anne@thepapersserved.com                                      SDW©SHOWATSON.COM
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                                            IN   THE STATE COURT OF DEKALB COUNTY
                                                         STATE OF GEORGIA
             DEKEVIAN YOUNG,                                                            )


                                        Plaintiff,                                      )


             v.                                                                         )                                 CIVIL         ACTION
                                                                                        )                                 FILE N0. 20A83454
             PILOT TRAVEL CENTERS, LLC,                     et al.,




                                                  M
                                                                                        )

                                        Defendants.                                     )




                                                 for Special   A              intm nt       s       Pr    c s         e           r


                      Comes now, MADELINE                ANNE LANE,                 pursuant to O.C.G.A. § 9—11-4                                       (c),   before the


             undersigned officer duly authorized            to     administer oaths and states that she                                 is       over the age of 18


             and legally competent      to give this affidavit, a Citizen of the                          United States, and                       is   currently


             Georgia Certified Process server assigned identification #CP5240 by the Georgia Sheriffs’


             Association, that she     is   not related to the plaintiff in this case, and has n0 interest in the outcome


             of this litigation. She   is   ready, willing       and able       t0 serve process in this case. A11                                  documents

             served will be listed on the affidavit of service or due diligence.


                      FURTHER AFFIANT SAYETH NAUGHT.

                     This       [é           day    ofmakgozo.
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             Sworn   to   and subscribed before        me
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             MY COMMISSION EXPIRES                           _=-
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                                        IN THE STATE       COURT OF DEKALB COUNTY
                                                       STATE OF GEARGIA
             DEKEVIAN YOUNG,
                                                                        )

                                       Plaintiff,
                                                                        )

            v.
                                                                        )            CIVIL   ACTION
                                                                        )            FILE NO. 20A83454
            PILOT TRAVEL CENTERS, LLC,                et 31.,
                                                                        )

                                       Defendants.
                                                                        )


                                              Order Appointing Special Process Server

                     Upon Motion      of the Plaintiff for appointment of Specia
                                                                                 l Process Server and   it   appearing

            appropriate, just    and equitable,

                     It is   Considered, Ordered and Adjudged that Madel
                                                                         ine   Anne Lane   is   hereby appointed

            special agent for the service 0f process in
                                                        this case.


                     SO ORDERED        this               day of                          __, 2020.




                                                                Judge
                    STATE COURT OF
                    DEKALB COUNTY, GA.
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           Cc:      Madeline Anne Lane,        GA CPSZ40
                    PapersServed
                    404-702-4437
                    anne@thepapersserved.com




           Page   1 of 1




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                                                       20A83454

                        .
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                                     v
                                          ___________                                                        STATE COURT 0F DEKALB COUNTY
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                            -—/s/—— —————._._
                                  Monique Roberts
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                                                                                                              vs.
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                                                                                                              Defendant's         name and addre     s
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                        To T35 Aaova-NAMED DEFENDANT:                                                                                                          300W: -' H’Elﬁ-i’

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                                                                          with the Clerk of State Court, Suite
                        Administrative ToWer. DeKalb                                                           230. 2m Floor,
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                        30030  'and                                                                      . Decatu r. Georgia
                                    serve upon the plaintiff‘s attorne
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                    __—_—__.____————-—_-
                    Defen                dant's Attorney                                                              Third Party Attorney


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                    U Contract D Medical Malpractice
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                                                               the   plaintiff’s   attorney. to wit:
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                                                                                         TYPE OF SUIT
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                  n    Legal Malpractice                    D Product Llabiiity                               Interest   $
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                  To THE ABQVE-NAMED DEFENDANT:                                                                                                                                 '




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                   Defendant's Attorney                                                                  Third Party Attorney

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                                         IN   THE STATE COURT OF DEKALB COUNTY
                                                     STATE OF GE RGIA
              DEKEVIAN YOUNG,
                                                                          )

                                        Plaintiff,
                                                                          )
              v
                                                                          )                    CIVIL ACTION
                                                                          )                    FILE NO.20A83454
              PILOT TRAVEL CENTERS, LLC,              et aL,
                                                                      )

                                        Defendants.
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                                              Order Appointing Special Process Serv
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                       Upon Motion     of the Plaintiff for appointment
                                                                                  fSpecial Process Server and     it   appearing
             appropriate, just and equitable,


                      It is   Considered, Ordered and Adjudged
                                                               that   M           deline   Anne Lane   is   hereby appointed

             special agent for the service of
                                              process in this case.

                      SO ORDERED this          20%,      day of




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            Cc:      Madeline Anne Lane,       GA CPSZ40
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                     404-702-4437
                     anne@thepapersserved.com




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             Plaintiff(s)/Petitioner,                                               Case No. Z0 $575?
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             Defendant(s)/Respondent.                                                                  Aﬂ       '




                                                     Affidavit of Service of Process


                          L Madeline Anne Lane, being duly sworn, depose and say                that   I   am       authorized   by law to

             make        service of the    Sgngous      M geeky; gr                     ”M1095,




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             all      stapled together and each as filed into this case.


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                                           110                                                              was corporate served

             the process documents listed above to the           hand of Jane Richardson, who               self—identified as


             Intake Clerk and authorized to accept service,           C T Corporation         System, Registered Agent 0f

             current record, at the business address of         289 South Culver Street, Lawrenceville, Georgia

             30046.       A description 0f the person served is a white American female,               about 55-60 years old,


             about 5’7", about 160 pounds, gray/wmte hair and no glasses                   at the   time of service. Additionally,

             I   signed the service intake log maintained there.




             Subscribed after proper identification
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             Defendant(s)/Respondent.

                                                                  Affidavit of Service 0f Process

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             the process documents listed above to the hand of Linda Banks,                                     who          self—identified as Intake


             Clerk for      CT Corporation        System and authorized                      to accept service as Registered                  Agent of

             current record, at the business address of 289                              South Culver Street, Lawrenceville, Georgia

             30046.     A description of the person served is a White American female,                                        about 55—60 years old,


             about 5’    1”,   about 160 pounds, gray hair and no glasses                          at the   time of service. Additionally,               I



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             Plaintiff(s)/Petitioner,                                                      Case No.         20 ”23qfq
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             Defendant(s)/Respondent.


                                                        Affidavit of Service of Process


                       I,   Madeline Anne Lane, being duly sworn, depose and say that                          T   am   authorized   by law   t0


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             the process documents listed above to the                       hand of Jane Richardson, who           self—identifi    d as

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             Intake Clerk and authorized t0 accept service,                                                         Registered Agent 0f


             current record, at the business address 0f                      289 South Culver Street, Lawrenceville, Georgia

             30046.    A description of the person served is a white American female,                          about 55—60 years old,


             about 5’7”, about 180 pounds, gray/white hair and no glasses at the time of service. Additionally,


             I   signed the service intake log maintained there.




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                                IN      THE STATE COURT OF DEKALB COUNTY
                                               STATE OF GEORGIA

DEKEVIAN YOUNG,                                                                                 )

                                                                                                )

Plaintiff,                                                                                      )                CIVIL ACTION
                                                                                                )                20A83454
V.                                                                                              )                FILE NO.
                                                                                                )
PILOT TRAVEL CENTERS, LLC,                                                                      )

PFJ SOUTHEAST, LLC,                                                                             )
THOMAS PROTECTIVE SERVICES, INC,                                                                )                JURY TRIAL DEMANDED
and JOHN DOES 1-15,                                                                             )

                                                                                                )

Defendants.                                                                                     )



DEFENDANT MISNAMED AS PILOT TRAVEL CENTERS, LLC’S AND DEFENDANT
  PFJ SOUTHEAST, LLC’S ANSWERS AND DEFENSES TO PLAINTIFF’S FIRST
                     COMPLAINT FOR DAMAGES

        COMES NOW, Misnamed Defendants PILOT TRAVEL CENTERS,                                                                                   LLC, and PFJ

Southeast,   LLC, (“Defendant”), purported defendants                                               in the above-styled civil action, and,

Without waiving any defenses based 0n jurisdiction 0r venue, hereby ﬁle and serve Answer and

Defenses t0    Plaintiff’ s First             Complaint for Damages (“Complaint”), respectfully showing the

Court as follows:




                                                                  FIRST DEFENSE
        Plaintiff s Complaint fails to state 0r set forth claims against Defendant                                                               upon Which      relief

can be granted.

                                                                SECOND DEFENSE
        As   a Second Defense, Defendant answers the                                                numbered paragraphs of Plaintiff s

Complaint as follows:

                                                    PARTIES AND JURISDICTION


                                                                                        1   .




        DEKEVIAN YOUNG (hereinafter "Young"                                                     0r "Plaintiff)              is   a resident 0f DeKalb County

in the State   of Georgia.




                   Tennessee      |
                                      Kentucky      |
                                                        Mississippi   |
                                                                          Georgia   |
                                                                                        Alabama      |
                                                                                                         Pennsylvania   |
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                                                                                                                                            New York                  STATE COURT 0F
                                                                                                                                                                   DEKALB COUNTY, GA.
       4779 SAtlanta Road       Suite   350       Atlanta,   GA 30339          Phone 678.403.1966               Fax 678.402.8301       adutoit@morganakins.com
                                                                                                                                                                      12/31/2020 11:49   AM
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                                                                                                                                                                     BY: Phyleta Knighton
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PFJ Southeast LLC’s Response: Defendant can                                 neither admit nor deny the allegations

contained in paragraph              1   0f Plaintiff’s Complaint for               want 0f sufﬁcient information                   t0

form a      belief as t0 the truth thereof            and puts        Plaintiff    upon     strict      proof 0f same.



Pilot Travel Centers             LLC’s Response: Defendant can                      neither admit nor deny the

allegations contained in            paragraph        1   0f Plaintiff’s Complaint for                   want 0f sufﬁcient
information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                                          strict   proof 0f

same.




            PILOT TRAVEL CENTERS, LLC                          (hereinafter "Pilot")         is   a limited liability         company
based in Tennessee and authorized to do business in Georgia. Pilot                                 may be     served with process

through      its   domestic agent,      CT   Corporation System, located               at   289    S.   Culver      Street,

Lawrenceville, Georgia 30046-4805. Pilot                      is   subject to the jurisdiction of this Court. Defendant

is   subject to the jurisdiction of this Court.

            PFJ       Southeast LLC’s Response: Defendant can neither admit nor deny the

allegations contained in            paragraph 2 of Plaintiffs Complaint for want 0f sufﬁcient

information to form a belief as t0 the truth thereof and puts Plaintiff upon                                          strict   proof 0f

same.



            Pilot Travel Centers         LLC’s Response: Defendant admits                            that   it is   a limited liability

company based             in   Tennessee and authorized to d0 business in Georgia. Defendant admits

that   it   may be      served with process through                 its   domestic agent,         CT     Corporation System,

located at 289 S. Culver Street, Lawrenceville, Georgia 30046-4805. Defendant can neither

admit nor deny the remaining allegations contained in paragraph 2 which seek a                                                  legal

conclusion t0 which n0 response                 is   required.



                                                                      3.


            Defendant PFJ Southeast,           LLC       (hereinafter, "PFJ") is a limited liability                  company based
in   Tennessee and authorized to do business in Georgia. PFJ                          may be        served through        its   registered

agent,      CT   Corporation System, located             at   289   S.    Culver   Street, Lawrenceville,            Georgia 30046-

4805. PFJ        is   subject to the jurisdiction of this Court.

            PFJ Southeast LLC’s Response: Defendant admits                                  that   it is   a limited liability

company based             in   Tennessee and authorized to d0 business in Georgia. Defendant admits
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that   it   may be   served through      its   registered agent,        CT Corporation System, located at 289
S.   Culver Street, Lawrenceville, Georgia 30046-4805. Defendant can neither admit nor

deny the remaining allegations contained               in   paragraph 3 Which seek a           legal conclusion t0

Which n0 response          is   required.



            Pilot Travel Centers        LLC’s Response: Defendant can                 neither admit nor deny the

allegations contained in           paragraph 3 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                       strict   proof 0f

same.



                                                            4.


            Defendant Thomas Protective Service, Incorporated (hereinafter "TPS")                   is   a Foreign

Corporation based in Texas and authorized t0 d0 business in Georgia.                      TPS may be     served With

process through      its   registered agent, National Registered Agents, Inc., located at            289    S.    Culver

Street, Lawrenceville,          Georgia 30046-4805.    TPS       is   subject to the jurisdiction 0f this Court.

            PFJ   Southeast LLC’s Response:                 Defendant can neither admit nor deny the

allegations       contained in paragraph 4 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                             strict   proof of

same.



            Pilot Travel Centers        LLC’s Response: Defendant can                  neither admit nor deny the

allegations       contained in paragraph 4 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                             strict   proof 0f

same.



                                                            5.


            JOHN DOES           1-15 are the owners and/or employees of the owners, managers and/or

employees of the managers, management companies and/or employees of the management

companies 0f the      real property located at      2605 Bouldercrest Road, Atlanta, Georgia,              in    DeKalb

County. John Does 1-15 will be              named and served With         the   Summons and Complaint once their
identity is revealed.

            PFJ Southeast LLC’s Response: Defendant can                         neither admit nor deny the

allegations contained in           paragraph 5 of Plaintiffs Complaint for want 0f sufﬁcient
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information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                strict   proof 0f

same.



        Pilot Travel Centers         LLC’s Response: Defendant can          neither admit nor deny the

allegations contained in       paragraph 5 of Plaintiffs Complaint for want 0f sufﬁcient

information to form a belief as t0 the truth thereof and puts Plaintiff upon                strict   proof 0f

same.



                                                            6.


        Defendants are joint tortfeasors pursuant to Article VI, Section         II,   para. 4 0f the Georgia

Constitution, and venue      is   proper as t0   all   Defendants in DeKalb County, Georgia.

        PFJ Southeast LLC’s Response: Defendant can                   neither admit nor deny the

allegations contained in       paragraph 6 which seek a          legal conclusion to   which n0 response    is


required.



        Pilot Travel Centers         LLC’s Response: Defendant can          neither admit nor deny the

allegations contained in       paragraph 6 which seek a          legal conclusion to   which n0 response    is


required.



                                                            7.


        Venue    is   proper pursuant to 0.C.G.A. § 14-2-5 10 because the incident giving rise to this

civil action   occurred in DeKalb County.

        PFJ Southeast LLC’s Response: Defendant can                   neither admit nor deny the

allegations contained in       paragraph 7 which seek a          legal conclusion t0   which n0 response    is


required.



        Pilot Travel Centers         LLC’s Response: Defendant can          neither admit nor deny the

allegations contained in       paragraph 7 which seek a          legal conclusion t0   which n0 response    is


required.



                                                 BACKGROUND

                                                            8.


        Paragraphs 1-7 are hereby incorporated and -re-alleged as though fully              set forth herein.
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         Defendants incorporate by reference the Answers provided in response t0

paragraphs 1-7 above.



                                                           9.


         Defendant Pilot      is   a Tennessee-based corporation With over 750 truck stops located

throughout North America.

         PFJ Southeast LLC’s Response: Defendant                  denies the allegations contained in

paragraph 9 0f Plaintiff’s Complaint.

         Pilot Travel Centers         LLC’s Response: Defendant denies the          allegations contained

in   paragraph 9 0f Plaintiff’s Complaint.



                                                        10.

         These truck stops serve as weigh        stations for   consumers   to purchase fuel, sundries,   and

other items.

         PFJ Southeast LLC’S Response: Defendant admits the allegations contained                   in

paragraph 10 of Plaintiff’s Complaint.



         Pilot Travel Centers         LLC’s Response: Defendant admits           the allegations contained

in   paragraph 10 of Plaintiff’s Complaint.

                                                        1 1.


         These truck stops also serve as       rest stop facilities for semi-truck drivers to re-fuel,   weigh

their vehicles, take showers,        and purchase various items (food, beverages, maps)      that aid in their

travels across the country.

         PFJ Southeast LLC’s Response: Defendant admits                  the allegations contained in

paragraph 11 0f Plaintiff’s Complaint.



         Pilot Travel Centers         LLC’s Response: Defendant admits           the allegations contained

in   paragraph 11 of Plaintiff’s Complaint.

                                                        12.

         At   all   times relevant hereto, Defendant Pilot      owned and/or operated the   truck stop located

at   2605 Bouldercrest Road, Atlanta, Georgia,        in   DeKalb County    (hereinafter "the Bouldercrest

location" or "Premises").

         PFJ Southeast LLC’s Response: Defendant admits                  the allegations contained in

paragraph 12 of Plaintiff’s Complaint.
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         Pilot Travel Centers      LLC’s Response: Defendant          denies the allegations contained

in   paragraph 12 of Plaintiff’s Complaint.



                                                       1   3.


         At   all   times relevant hereto, Defendant PFJ owned, operated and/or was responsible for

the   management 0f the Bouldercrest      location.

         PFJ Southeast LLC’s Response: Defendant                denies the allegations as stated

contained in paragraph 13 0f Plaintiff’s Complaint.



         Pilot Travel Centers      LLC’s Response: Defendant can          neither admit nor deny the

allegations contained in       paragraph 13 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon            strict   proof 0f

same.



                                                       14.

         The Bouldercrest      location has a   main building Which houses a convenience    store,

showers for truckers, and a fast-food restaurant—all available t0 the public.

         PFJ Southeast LLC’s Response: Defendant admits                the allegations contained in

paragraph 14 of Plaintiff’s Complaint.



         Pilot Travel Centers      LLC’s Response: Defendant admits          the allegations contained

in   paragraph 14 of Plaintiff’s Complaint.



                                                       1   5.


         The Bouldercrest      location has a rear door that leads to the parking area/fuel stop/scale

station for the semi-trucks that stop at the location.

         PFJ Southeast LLC’s Response: Defendant admits                the allegations contained in

paragraph 15 0f Plaintiff’s Complaint.



         Pilot Travel Centers      LLC’s Response: Defendant admits          the allegations contained

in   paragraph 15 of Plaintiff’s Complaint.
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                                                    1   6.


         At   the time of the incident giving rise to this civil action, Defendants Pilot and/or   PFJ

maintained a religious structure,    named "A   Pilot Chapel", located in the rear area   of the

Bouldercrest location, approximately' 200 feet from the rear entrance.

         PFJ Southeast LLC’s Response: Defendant admits             the allegations contained in

paragraph 16 of Plaintiff’s Complaint.



         Pilot Travel Centers     LLC’s Response: Defendant admits         the allegations contained

in   paragraph 16 0f Plaintiff’s Complaint.



                                                    17.

         The Bouldercrest    location has a long history of Violent incidents occurring   on the

property, including robberies, assaults, and carjackings.

         PFJ Southeast LLC’s Response: Defendant can             neither admit nor deny the

allegations contained in     paragraph 17 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon           strict   proof 0f

same.



         Pilot Travel Centers     LLC’s Response: Defendant can        neither admit nor deny the

allegations contained in     paragraph 17 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon           strict   proof 0f

same.



                                                    1 8.


         At   the time of the incident giving rise to this civil action, Defendant   TPS was    contracted

t0 provide security at the Bouldercrest location, including the rear    and front parking   lots located

on the property.

         PFJ Southeast LLC’s Response: Defendant admits             the allegations contained in

paragraph 18 0f Plaintiff’s Complaint.



         Pilot Travel Centers     LLC’s Response: Defendant admits         the allegations contained

in   paragraph 18 of Plaintiff’s Complaint.
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                                                    19.

        On March     17, 2019,   Young was an   invitee of Pilot/PFJ at the Bouldercrest location.

        PFJ Southeast LLC’s Response: Defendant can                neither admit nor deny the

allegations contained in     paragraph 19 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon             strict   proof 0f

same.



        Pilot Travel Centers      LLC’s Response: Defendant can            neither admit nor deny the

allegations contained in     paragraph 19 0f Plaintiff’s Complaint for want of sufﬁcient

information to form a belief as t0 the truth thereof and puts Plaintiff upon             strict   proof 0f

same.



                                                    20.

        At   the time of the incident giving rise to this civil action,   Young, ana   OTR semi-truck
driver for Melilla Valley Trucking, drove his truck into the parking lot of the Bouldercrest

location at approximately 4:00 a.m.

        PFJ Southeast LLC’s Response: Defendant can                neither admit nor deny the

allegations contained in     paragraph 20 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon             strict   proof 0f

same.



        Pilot Travel Centers      LLC’s Response: Defendant can            neither admit nor deny the

allegations contained in     paragraph 20 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon             strict   proof 0f

same.



                                                    21.




        After parking his semi-truck in the rear parking     lot   of the Bouldercrest location, Young

proceeded to the main building to purchase items.

        PFJ Southeast LLC’s Response: Defendant can                neither admit nor deny the

allegations contained in     paragraph 21 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon             strict   proof 0f

same.
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        Pilot Travel Centers       LLC’s Response: Defendant can         neither admit nor deny the

allegations contained in      paragraph 21 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.



                                                      22.

        As he walked near      the chapel,   Young   noticed Nichelle Thomas, a Pilot employee, sitting

on a bench   in front   0f the chapel.

        PFJ Southeast LLC’s Response: Defendant can               neither admit nor deny the

allegations contained in      paragraph 22 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.



        Pilot Travel Centers       LLC’s Response: Defendant can         neither admit nor deny the

allegations contained in      paragraph 22 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.

                                                      23.

        As Young engaged her        in conversation, both   0f them heard the sounds of gunﬁre.

        PFJ Southeast LLC’s Response: Defendant can               neither admit nor deny the

allegations contained in      paragraph 23 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.



        Pilot Travel Centers       LLC’s Response: Defendant can         neither admit nor deny the

allegations contained in      paragraph 23 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.



                                                      24.

        Young   felt    an immediate, sharp, exploding pain in his right arm right after the

commencement of gunﬁre.
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        PFJ Southeast LLC’s Response: Defendant can            neither admit nor deny the

allegations contained in   paragraph 24 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.



        Pilot Travel Centers   LLC’s Response: Defendant can          neither admit nor deny the

allegations contained in   paragraph 24 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.



                                                 25.

        Young and Thomas dropped     to the   ground   in response to the gunshots.

        PFJ Southeast LLC’s Response: Defendant can            neither admit nor deny the

allegations contained in   paragraph 25 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.



        Pilot Travel Centers   LLC’s Response: Defendant can          neither admit nor deny the

allegations contained in   paragraph 25 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.



                                                 26.

        An armed man approached Young and Thomas while they were            laying on the ground and

attempted t0 rob them.

        PFJ Southeast LLC’s Response: Defendant can            neither admit nor deny the

allegations contained in   paragraph 26 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.



        Pilot Travel Centers   LLC’s Response: Defendant can          neither admit nor deny the

allegations contained in   paragraph 26 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon          strict   proof 0f

same.
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                                                       27.

         The armed man threatened both Young and Thomas, ordering them                  t0   give     me what
you   got."   The armed man then ﬁred      several   more   shots in their direction before ﬂeeing the area.

         PFJ Southeast LLC’s Response: Defendant can                  neither admit nor deny the

allegations contained in         paragraph 27 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                 strict   proof 0f

same.



          Pilot Travel Centers        LLC’s Response: Defendant can         neither admit nor deny the

allegations contained in         paragraph 27 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                 strict   proof 0f

same.



                                                       28.

         Once    the assailant ran,   Young   got up from the ground and     ﬂed to   his truck.

         PFJ Southeast LLC’s Response: Defendant can                  neither admit nor deny the

allegations contained in         paragraph 28 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                 strict   proof 0f

same.



          Pilot Travel Centers        LLC’s Response: Defendant can         neither admit nor deny the

allegations contained in         paragraph 28 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                 strict   proof 0f

same.



                                                       29.

         As he    ran,   Young   realized the pain in his right   arm was because he had been         shot and his

arm was not     functioning.

         PFJ Southeast LLC’s Response: Defendant can                  neither admit nor deny the

allegations contained in         paragraph 29 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                 strict   proof 0f

same.
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           Pilot Travel Centers      LLC’s Response: Defendant can                   neither admit nor deny the

allegations contained in      paragraph 29 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                        strict   proof 0f

same.



                                                          30.

        Young attempted       to   make   it   t0 his truck but       stopped   When he saw   the assailant,

accompanied by another man, cross several              feet in front      of him.

        PFJ Southeast LLC’s Response: Defendant can                         neither admit nor deny the

allegations contained in      paragraph 30 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                        strict   proof 0f

same.

           Pilot Travel Centers      LLC’s Response: Defendant can                   neither admit nor deny the

allegations contained in      paragraph 30 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                        strict   proof 0f

same.



                                                          3   1   .




        Young    reversed course and ran back towards the chapel, where he heard                     Thomas     yelling

into her   work headset   that she   had been shot      as well.

        PFJ Southeast LLC’s Response: Defendant can                         neither admit nor deny the

allegations contained in      paragraph 31 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                        strict   proof 0f

same.



           Pilot Travel Centers      LLC’s Response: Defendant can                   neither admit nor deny the

allegations contained in      paragraph 31 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon                        strict   proof 0f

same.



                                                          32.

        As   this incident   was taking     place,   Miranda Simmons, a security guard employed by TPS,

remained inside the convenience           store,   only exiting after the shooting was over and the assailant

had ﬂed.
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        PFJ Southeast LLC’s Response: Defendant can              neither admit nor deny the

allegations contained in   paragraph 32 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon               strict   proof 0f

same.



        Pilot Travel Centers       LLC’s Response: Defendant can         neither admit nor deny the

allegations contained in   paragraph 32 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon               strict   proof 0f

same.



                                                  33.

        Young   realized that he   had sustained gunshots   t0 his left leg   and   t0 his neck.

        PFJ Southeast LLC’s Response: Defendant can              neither admit nor deny the

allegations contained in   paragraph 33 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon               strict   proof 0f

same.



        Pilot Travel Centers   LLC’s Response: Defendant can            neither admit nor deny the

allegations contained in   paragraph 33 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon               strict   proof 0f

same.



                                                  34.

        DeKalb Police Department responded       to the scene to investigate the shooting.

        PFJ Southeast LLC’s Response: Defendant can              neither admit nor deny the

allegations contained in   paragraph 34 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon               strict   proof 0f

same.



        Pilot Travel Centers       LLC’s Response: Defendant can         neither admit nor deny the

allegations contained in   paragraph 34 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon               strict   proof 0f

same.
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                                                      35.

         An ambulance      also arrived   0n scene and transported the   critically injured   Young   to

Grady Memorial Hospital ("Grady"), where he arrived          at   approximately 6:00   am.
         PFJ Southeast LLC’s Response: Defendant can               neither admit nor deny the

allegations contained in      paragraph 35 0f Plaintiff’s Complaint for want of sufﬁcient

information to form a belief as t0 the truth thereof and puts Plaintiff upon             strict    proof 0f

same.



          Pilot Travel Centers     LLC’s Response: Defendant can           neither admit nor deny the

allegations contained in      paragraph 35 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon             strict    proof 0f

same.




                                                      36.

         Young remained hospitalized        for six days before being discharged    on March 23, 2019.

         PFJ Southeast LLC’s Response: Defendant can               neither admit nor deny the

allegations contained in      paragraph 36 0f Plaintiff’s Complaint for want 0f sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon             strict    proof 0f

same.



          Pilot Travel Centers     LLC’s Response: Defendant can           neither admit nor deny the

allegations contained in      paragraph 36 0f Plaintiff’s Complaint for want of sufﬁcient

information t0 form a belief as t0 the truth thereof and puts Plaintiff upon             strict    proof 0f

same.



            COUNT ONE: DUTY TO KEEP PREMISES SAFE (0.C.G.A.                            § 51-3-1)



                                                      37.

         Plaintiff re-alleges   and incorporates the allegations contained    in paragraphs    1   through 36

as   though fully   set forth herein.

         Defendants incorporate by reference the Answers provided in response t0

paragraphs 1-36 above.
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                                                              38.

         Defendants      Pilot,   PFJ,   TPS   and/or John Does 1-15, including their respective employees

and agents, owed a duty 0f care            to Plaintiff t0   keep the Premises safe from reasonably

foreseeable, unlawful acts and dangerous conditions                 0n   their Premises.

         PFJ Southeast LLC’s Response: Defendant can                        neither admit nor deny the

allegations contained in          paragraph 38 Which seek a          legal conclusion t0      which n0 response      is


required.



          Pilot Travel Centers           LLC’s Response: Defendant can             neither admit nor deny the

allegations contained in          paragraph 38 Which seek a          legal conclusion t0      which n0 response      is


required.



                                                              39.

         At   all   times relevant hereto and prior to any injuries t0 Plaintiff, said Defendants knew, 0r

through the exercise of reasonable care should have known, that there had been several incidents

of Violent crimes in and about the Premises.

         PFJ Southeast LLC’s Response: Defendant                     denies the allegations contained in

paragraph 39 of Plaintiff’s Complaint.



         Pilot Travel Centers            LLC’s Response: Defendant            denies the allegations contained

in   paragraph 39 0f Plaintiff’s Complaint.



                                                              40.

         Prior to said time       when    Plaintiff was assaulted    and    shot, said   Defendants were on actual

notice that the Premises      was    in a high crime area.

         PFJ Southeast LLC’s Response: Defendant                     denies the allegations contained in

paragraph 40 of Plaintiff’s Complaint.



         Pilot Travel Centers            LLC’s Response: Defendant denies the               allegations contained

in   paragraph 40 of Plaintiff’s Complaint.



                                                              41.

         Prior to said time       When    Plaintiff was assaulted    and    shot, said   Defendants knew of the
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dangerous conditions 0n the Premises and the likelihood that acts of Violence resulting in injury

t0 invitees   and others lawfully on the property might occur.

         PFJ Southeast LLC’s Response: Defendant                 denies the allegations contained in

paragraph 41 of Plaintiff’s Complaint.



         Pilot Travel Centers        LLC’s Response: Defendant             denies the allegations contained

in   paragraph 41 of Plaintiff’s Complaint.

                                                        42.

         Defendants failed and refused t0 correct the circumstances giving              rise to   such crimes by

third parties, failed to   keep   their   Premises safe and failed t0 adequately and properly protect

Plaintiff, all in   breach of their duty of care    owed   to Plaintiff.

         PFJ Southeast LLC’s Response: Defendant                 denies the allegations contained in

paragraph 42 0f Plaintiff’s Complaint.

         Pilot Travel Centers        LLC’s Response: Defendant             denies the allegations contained

in   paragraph 42 of Plaintiff’s Complaint.



                                                        43.

         As   a direct and proximate result 0f said Defendants' actions and/or inactions, Plaintiff has

experienced physical and mental pain and suffering, Plaintiff has suffered post—traumatic stress

and depression,      Plaintiff has   been unable   t0 function properly in his   normal capacities and

Plaintiff has   been unable   to enjoy his usual lifestyle, for    Which he    sues.

         PFJ Southeast LLC’s Response: Defendant                 denies the allegations contained in

paragraph 43 of Plaintiff’s Complaint.



         Pilot Travel Centers        LLC’s Response: Defendant denies the              allegations contained

in   paragraph 43 of Plaintiff’s Complaint.



     COUNT TWO: NEGLIGENCE - FAILURE TO PROVIDE ADEQUATE SECURITY
                          (0.C.G.A. § 51-3-1/Restatement of Torts, 2d, § 324A)



                                                        44.

         Plaintiff re-alleges   and incorporates the allegations contained        in paragraphs      1   through 43

as   though fully   set forth herein.
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         Defendants incorporate by reference the Answers provided in response t0

paragraphs 1-43 above.



                                                         45.

         At   all   relevant times, Defendants Pilot, PFJ, TPS, and/or John       Does 1-15 undertook    t0

provide security       at the   Premises.

         PFJ Southeast LLC’s Response: Defendant admits                   the allegations contained in

paragraph 45 of Plaintiff’s Complaint.



         Pilot Travel Centers         LLC’s Response: Defendant admits           the allegations contained

in   paragraph 45 of Plaintiff’s Complaint.



                                                         46.

         Said Defendants         owed   a duty of care to their guests and invitees, including Plaintiff, to

provide adequate security on and about their Premises.

         PFJ Southeast LLC’s Response: Defendant can                  neither admit nor deny the

allegations contained in          paragraph 46 Which seek a       legal conclusion t0   which no response      is


required.



          Pilot Travel Centers          LLC’s Response: Defendant can         neither admit nor deny the

allegations contained in          paragraph 46 Which seek a       legal conclusion t0   which no response      is


required.



                                                         47.

         Said Defendants failed to provide adequate security 0n and about the Premises in breach

0f their duty 0f care.

         PFJ Southeast LLC’s Response: Defendant                 denies the allegations contained in

paragraph 47 of Plaintiff’s Complaint.



         Pilot Travel Centers         LLC’s Response: Defendant         denies the allegations contained

in   paragraph 47 of Plaintiff’s Complaint.



                                                         48.

         As   a direct and proximate result of said Defendants' actions and/or inactions, Plaintiff has
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experienced physical and mental pain and suffering, Plaintiff has suffered post-trauma stress and

depression, Plaintiff has been unable t0 function properly in his normal capacities and Plaintiff

has been unable to enj 0y his usual         lifestyle, for   which he    sues.

         PFJ Southeast LLC’s Response: Defendant                      denies the allegations contained in

paragraph 48 0f Plaintiff’s Complaint.



         Pilot Travel Centers         LLC’s Response: Defendant              denies the allegations contained

in   paragraph 48 of Plaintiff’s Complaint.



         COUNT THREE: DEFENDANTS MAINTAINED A PRIVATE NUISANCE
                                            (0.C.G.A. § 41-1-1 et sea.)



                                                             49.

         Plaintiff re-alleges   and incorporates the allegations contained          in paragraphs   1   through 48

as if fully set forth herein.

         Defendants incorporate by reference the Answers provided in response t0

paragraphs 1-48 above.



                                                             50.

         Defendants   Pilot,   PFJ,   TPS   and/or John Does 1-15 are liable for nuisance by reason 0f

their failure to   remedy   the dangerous condition 0f crime incidents that persisted over a period 0f

time as a continuous and 'repetitious condition and 0f which said Defendants had express notice

and knowledge, and where such nuisance caused the injury and suffering of Plaintiff.

         PFJ Southeast LLC’s Response: Defendant                      denies the allegations contained in

paragraph 50 0f Plaintiff’s Complaint.



         Pilot Travel Centers         LLC’s Response: Defendant              denies the allegations contained

in   paragraph 50 of Plaintiff’s Complaint.



                                                             51   .




         As   a direct and proximate result of said Defendants' actions and/or inactions, Plaintiff has

experienced physical and mental pain and suffering, Plaintiff has suffered post-trauma stress and

depression, Plaintiff has been unable to function properly in his normal capacities and Plaintiff

has been unable to enjoy- his usual         lifestyle, for    which he   sues.
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         PFJ Southeast LLC’s Response: Defendant                 denies the allegations contained in

paragraph 51 of Plaintiff’s Complaint.



         Pilot Travel Centers         LLC’s Response: Defendant         denies the allegations contained

in   paragraph 51 0f Plaintiff’s Complaint.



         COUNT FOUR: NEGLIGENT INSPECTION, REPAIR & MAINTENANCE

                                                      52.

         Plaintiff re-alleges      and incorporates Paragraphs   1   through 51 as   if fully set forth herein.


         Defendants incorporate by reference the Answers provided in response t0

paragraphs 1-51 above.




                                                      53.

         At   all   relevant times, Defendants Pilot, PFJ, TPS, and John       Does 1-15 owed a duty of

care t0 Plaintiff t0 properly inspect, construct and maintain the Premises and to keep their

Premises in proper       repair.

         PFJ Southeast LLC’s Response: Defendant can                  neither admit nor deny the

allegations contained in           paragraph 53 Which seek a     legal conclusion t0    which n0 response         is


required.



          Pilot Travel Centers         LLC’s Response: Defendant can          neither admit nor deny the

allegations contained in           paragraph 53 Which seek a     legal conclusion t0    which n0 response         is


required.



                                                      54.

         Said Defendants breached their duties 0f care      owed       t0 Plaintiff in that they failed to

properly construct, maintain and repair the Premises including the lighting in the parking               lot,   for

Which   Plaintiff sues.

         PFJ Southeast LLC’s Response: Defendant                 denies the allegations contained in

paragraph 54 of Plaintiff’s Complaint.
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         Pilot Travel Centers       LLC’s Response: Defendant denies the              allegations contained

in   paragraph 54 of Plaintiff’s Complaint.



                                                           55.

         As   a direct and proximate result 0f said Defendants' actions and/or inactions, Plaintiff has

experienced physical and mental pain and suffering, Plaintiff has suffered post—trauma stress and

depression, Plaintiff has been unable t0 function properly in his normal capacities and Plaintiff

has been unable to enj 0y his usual       lifestyle, for   which he   sues.

         PFJ Southeast LLC’s Response: Defendant                 denies the allegations contained in

paragraph 55 of Plaintiff’s Complaint.



         Pilot Travel Centers       LLC’s Response: Defendant             denies the allegations contained

in   paragraph 55 0f Plaintiff’s Complaint.




                                 COUNT FIVE: VICARIOUS LIABILITY

                                                           56.

         Plaintiff re-alleges    and incorporates paragraphs      1   through 55 as   if fully set forth herein.


         Defendants incorporate by reference the Answers provided in response t0

paragraphs 1-55 above.



                                                           57.

         At   all   times relevant to this action, the individuals responsible for inspection, repair, and

maintenance 0f the property, as well as those responsible for providing security               at the   Premises

Where    Plaintiff was injured    were employed by Defendants and were acting within the scope of

their   employment.

         PFJ Southeast LLC’s Response: Defendant can                    neither admit nor deny the

allegations contained in        paragraph 57 0f Plaintiff’s Complaint for want of sufﬁcient

information to form a belief as t0 the truth thereof and puts Plaintiff upon                  strict    proof 0f

same.



          Pilot Travel Centers       LLC’s Response: Defendant can            neither admit nor deny the

allegations contained in        paragraph 57 0f Plaintiff’s Complaint for want 0f sufﬁcient
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information t0 form a belief as t0 the truth thereof and puts Plaintiff upon              strict   proof 0f

same.



                                                    58.

         Defendants are responsible for the actions 0f these individuals pursuant t0 the doctrine 0f

respondeat superior, agency or apparent agency.

         PFJ Southeast LLC’s Response: Defendant can               neither admit nor deny the

allegations contained in       paragraph 58 Which seek a      legal conclusion t0    which n0 response         is


required.



          Pilot Travel Centers     LLC’s Response: Defendant can          neither admit nor deny the

allegations contained in       paragraph 58 Which seek a      legal conclusion t0    which n0 response         is


required.




           COUNT SIX: NEGLIGENT HIRING, TRAINING AND SUPERVISION

                                                    59.

         Plaintiff re-alleges   and incorporates paragraphs   1   through 58 as   if fully set forth herein.


         Defendants incorporate by reference the Answers provided in response t0

paragraphs 1-58 above.



                                                    60.

         Defendants   Pilot,   PFJ, TPS, and John Does 1-15 were negligent in hiring, training and

supervising the individuals responsible for inspection, repair, maintenance of the property, as

well as those responsible for providing security at the Premises Where Plaintiff was injured.

         PFJ Southeast LLC’s Response: Defendant              denies the allegations contained in

paragraph 60 of Plaintiff’s Complaint.



         Pilot Travel Centers      LLC’s Response: Defendant         denies the allegations contained

in   paragraph 60 of Plaintiff’s Complaint.



                                                    61.

         As   a direct and proximate result of said Defendants' actions and/or inactions, Plaintiff has
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experienced physical and mental pain and suffering, Plaintiff has suffered post-trauma stress and

depression, Plaintiff has been unable t0 function properly in his normal capacities and Plaintiff

has been unable to enj 0y his usual       lifestyle, for   which he   sues.

           PFJ Southeast LLC’s Response: Defendant              denies the allegations contained in

paragraph 61 0f Plaintiff’s Complaint.



           Pilot Travel Centers      LLC’s Response: Defendant           denies the allegations contained

in   paragraph 61 of Plaintiff’s Complaint.



                                       COUNT SEVEN: DAMAGES

                                                       62.

           Plaintiff re-alleges   and incorporates the allegations contained    in paragraphs   1   through 61

as if fully set forth herein.

           Defendants incorporate by reference the Answers provided in response t0

paragraphs 1-61 above.



                                                       63.

           As   a result of Defendants' Conduct, Plaintiff has incurred past medical expenses believed

to total   $262,267.54 and will continue to incur medical expenses in the future.

           PFJ Southeast LLC’s Response: Defendant              denies the allegations contained in

paragraph 63 of Plaintiff’s Complaint.



           Pilot Travel Centers      LLC’s Response: Defendant           denies the allegations contained

in   paragraph 63 0f Plaintiff’s Complaint.



                                                       64.

           As   a result of Defendants' conduct, Plaintiff has incurred past lost   wages and may incur

future lost wages.

           PFJ Southeast LLC’s Response: Defendant              denies the allegations contained in

paragraph 64 of Plaintiff’s Complaint.



           Pilot Travel Centers      LLC’s Response: Defendant denies the          allegations contained

in   paragraph 64 of Plaintiff’s Complaint.
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                                                       65.

          As   a result of Defendants' conduct, Plaintiff has incurred mental and physical pain and

suffering and will continue t0 experience pain and suffering in the future.

          PFJ Southeast LLC’s Response: Defendant                 denies the allegations contained in

paragraph 65 of Plaintiff’s Complaint.



          Pilot Travel Centers      LLC’s Response: Defendant              denies the allegations contained

in   paragraph 65 0f Plaintiff’s Complaint.



                COUNT EIGHT: PUNITIVE DAMAGES (0.C.G.A. § 51-12-5.1(b))

                                                       66.

          Plaintiff re-alleges   and incorporates paragraphs       1   through 65 as though fully     set forth

herein.

          Defendants incorporate by reference the Answers provided in response t0

paragraphs 1-65 above.



                                                       67.

          Plaintiff shows that the conduct of Defendants          was such    as t0 evince an entire   want 0f

care and indifference t0 the consequences of such conduct.

          PFJ Southeast LLC’s Response: Defendant                 denies the allegations contained in

paragraph 67 of Plaintiff’s Complaint.



          Pilot Travel Centers      LLC’s Response: Defendant denies the                   allegations contained

in   paragraph 67 of Plaintiff’s Complaint.



                                                       68.

          Plaintiff shows that such conduct       amounted   t0   wanton    acts   by Defendants   Pilot,   PFJ,   TPS
and/or John Does 1-15 Without regard to the rights 0f their customers and invitees, including

PlaintifﬁAs a direct and proximate result of said Defendants' actions and/or inactions, Plaintiff

has experienced physical and mental pain and suffering, Plaintiff has suffered post—trauma stress

and depression,     Plaintiff has   been unable   to function properly in his        normal capacities and

Plaintiff has   been unable   to enjoy his usual lifestyle, for        Which he    sues.
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            PFJ Southeast LLC’s Response: Defendant                     denies the allegations contained in

paragraph 68 of Plaintiff’s Complaint.



            Pilot Travel Centers        LLC’s Response: Defendant             denies the allegations contained

in   paragraph 68 0f Plaintiff’s Complaint.



Further, Defendant denies that Plaintiff is entitled t0 the relief prayed for in the

unnumbered          “WHEREFORE” paragraph including all subparts thereto, 0n page 6 0f
Plaintiff’s      Complaint.

            T0   the extent Plaintiff’s Complaint contains any additional paragraphs, either

correctly        numbered 0r misnumbered, Defendant                   denies the same.



                                                    THIRD DEFENSE
            To   the extent as   may be shown by the        evidence through discovery, these Defendants

show       that the alleged   damages,    if any,   were   directly   and proximately caused by the     acts or

omissions of Plaintiff, which constituted contributory and comparative negligence and failure to

exercise ordinary care.




                                                FOURTH DEFENSE
            To   the extent as   may be shown by the        evidence through discovery, these Defendants aver

that Plaintiff,    by   the exercise of ordinary care, could have avoided the consequences of any act 0r

failure t0 act     of these Defendants; however, these Defendants deny that any act or failure t0 act

0n   its   part caused or contributed to, in any       way whatsoever,       the   damages complained of in

Plaintiff” s     Complaint.



                                                    FIFTH DEFENSE
            To   the extent as   may be shown by the        evidence through discovery, these Defendants aver

that they are not liable t0 Plaintiff because Plaintiff” s            own negligence      equaled or exceeded that of

these Defendants, if any. These Defendants, however, deny that                     it   produced, brought about,

caused, or contributed        to, in   any way whatsoever, the damages complained of in              Plaintiff’ s


Complaint.
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                                                SIXTH DEFENSE
           To   the extent as   may be shown by the       evidence through discovery,        Plaintiff” s alleged


injuries   and damages,      if any,   were not foreseeable    to these Defendants. Further,       any damages

should be apportioned between any culpable parties, including                   Plaintiff.




                                              SEVENTH DEFENSE
           To   the extent these Defendants     owed      a duty of care t0 Plaintiff, which these Defendants

denies, these Defendants did not breach that duty 0f care               and was not on notice of anything       that

would cause        injury to anyone.




                                              EIGTHTH DEFENSE
           These Defendants did not breach any duty 0f care and had no actual 0r constructive

knowledge 0f any allegedly hazardous condition                that   may have   caused or contributed to

Plaintiff s alleged injuries, if any.

                                               NINTH DEFENSE
           The proximate cause 0f the alleged damages and              injuries   complained of in   Plaintiff” s


Complaint was the negligence 0f Plaintiff and/or another party 0r third party, and, thus,                  plaintiff

is   barred from recovery against these Defendants.



                                               TENTH DEFENSE
           These Defendants hereby incorporate by reference              all   afﬁrmative defenses   set forth in

O.C.G.A.        § 9-1 1-8 as if fully set forth herein.    These Defendants speciﬁcally reserves the right to

raise   any additional claims or afﬁrmative defenses which              may be     discovered in this matter upon

discovery upon appropriate notice to the parties.



                                             ELEVENTH DEFENSE
           To   the extent that a dangerous condition existed as described in Plaintiff” s Complaint,

which these Defendants deny,            Plaintiff knew, or should      have known, of the existence 0f the

alleged danger, realized and appreciated the possibility 0f injury as a result of the danger, and,

having a reasonable opportunity to avoid           it,   should not have voluntarily exposed herself to the

danger. In addition, any such condition          was open and obvious, which precludes recovery by

Plaintiff.
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                                                TWELFTH DEFENSE
             To   the extent as   may be shown by the      evidence through discovery,         Plaintiff” s   claims are

barred by his equal and/or superior knowledge of the hazard complained of in her Complaint.



                                               THIRTEENTH DEFENSE
          Any damages        sustained   by    Plaintiff were   due   t0 a situation created   by individuals 0r
entities other      than these Defendants and over which these Defendants had n0 control.



                                           FOURTEENTH DEFENSE
             Plaintiff s damages, to the extent recoverable, are limited          by   statute   and law.



                                               FIFTEENTH DEFENSE
             Plaintiff s complaints fails to state a claim for costs        upon Which    relief may    be granted

against this Defendant.




                                               SIXTEENTH DEFENSE
             This Defendant raises the defenses 0f real party-in—interest.



                                           SEVENTEENTH DEFENSE
             WHEREFORE, having answered fully,              Defendant respectfully requests that            this   Court

dismiss the Complaint and cast           all   costs against Plaintiff.

                    DEFENDANTS DEMAND A TRIAL BY A JURY OF                                12   JURORS


Respectfully submitted, this          _ﬂ_          day of December, 2020.




                                                                  MORGAN & AKINS, PLLC
                                                                  /s/   Michael Hammond
                                                                  Michael     Hammond
                                                                  Georgia Bar No.: 56 1 606
                                                                  Nicholas Akins
                                                                  Georgia Bar No.: 303992
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4779    S.   Atlanta   Road SE
Suite   350
Atlanta, Georgia        30339
                                                          STATE COURT OI:
678-403-1797 (Telephone)                                  DEKALB COUNTY, GA_
                                                          12/31/2020 11:49        AM
                                                          E-FILED
                                                          BY: Phyleta Knighton
       Case 1:21-cv-00006-MLB Document 1-2 Filed 01/04/21 Page 53 of 55

678-402-8301 (Facsimile)
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                                           CERTIFICATE OF SERVICE


             I   HEREBY CERTIFY that I have this day ﬁled the DEFENDANT PILOT TRA VEL
CENTERS, LLC’S AND PFJ SOUTHEAST, LLC’S ANSWERS AND DEFENSES T0
PLAINTIFF’S COMPLAINT FOR DAMA GES With the                                   Clerk of Court using Odyssey

eFileGA which              will automatically send e—mail notiﬁcation 0f such ﬁling t0 the following

attorneys and parties of record:

                                                Shofaetiyah D. Watson

                                          THE WATSON LAW FIRM, LLC
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             Respectfully submitted, this      _ﬂ_         day of December, 2020.




                                                        MORGAN & AKINS, PLLC

                                                       /s/Michael Hammond

                                                        Michael     Hammond
                                                        Georgia Bar No.2 561606

                                                       Nicholas Akins

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